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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                             WAYCROSS DIVISION

UNITED STATES OF AMERICA,                     |
                                              |
       v.                                     |   CASE NO. 5:21-CR-00009
                                              |
STANLEY NEAL MCGAULEY,                        |
    DEFENDANT.                                |



            DEFENDANT MCGAULEY’S RESPONCE TO GOVERNMENT’S
            MOTION TO MAINTAIN CUYSTODY OF SEIZED PROPERTY

       COMES NOW, Stanley N. McGauley, and hereby files this response to Government’s

Motion to Maintain Custody of Seized Property (Doc. # 98).

1.     The Government’s motion does not pertain to any property of this Defendant.

2.     Defendant has no objection to this Honorable Court granting the Government’s motion.

       Respectfully submitted this 17th day of December, 2021.

                                                  /s/ Jason A. Nix
                                                  Jason A. Nix
                                                  Georgia Bar No. 732173
                                                  Attorney for Stanley McGauley


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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

UNITED STATES OF AMERICA,                         |
                                                  |
       v.                                         |   CASE NO. 5:21-CR-00009
                                                  |
STEPHON GREENE,                                   |
     DEFENDANT.                                   |



                                 CERTIFICATE OF SERVICE

        I, Jason A. Nix, attorney for the Defendant, do hereby certify that I have this date served
the foregoing:

            DEFENDANT MCGAULEY’S RESPONCE TO GOVERNMENT’S
            MOTION TO MAINTAIN CUYSTODY OF SEIZED PROPERTY

on all of the parties in this case in accordance with the notice of electronic filing (“NEF”) which
was generated as a result of electronic filing in this Court.


This 17th day of December, 2021.

                                                      /s/ Jason A. Nix
                                                      Jason A. Nix
                                                      Georgia Bar No. 732173
                                                      Attorney for Stanley McGauley


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